          Case 1:07-cr-00187-WMS     Document 240      Filed 11/21/08   Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                     DECISION AND ORDER
                                                                      07-CR-187S
JOSE SANABRIA, a/k/a ZANAHORIA

                             Defendant.


          1.    On October 17, 2008, the Defendant entered into a written plea agreement

(Docket No. 224) and pled guilty to a One Count Superseding Felony Information (Docket

No. 223) charging a violation of Title 21, U.S.C. Section 846 (conspiracy to possess with

intent to distribute and to distribute 100 grams or more of heroin).

          2.    On October 17, 2008, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 226)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.    This Court has carefully reviewed de novo Judge Schroeder’s October 17,

2008, Report and Recommendation, the plea agreement, transcript of the proceeding, and

the applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Schroeder’s Report and Recommendation, and will accept Judge Schroeder’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
      Case 1:07-cr-00187-WMS        Document 240     Filed 11/21/08   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s October 17,

2008, Report and Recommendation (Docket No. 226) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Jose Sanabria is accepted, and he

is now adjudged guilty of Title 21, U.S.C. Section 846.

      SO ORDERED.


Dated: November 18, 2008
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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